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 3                          UNITED STATES DISTRICT COURT
 4                        SOUTHERN DISTRICT OF CALIFORNIA
 5   UNITED STATES OF AMERICA,                    Case No.: 21CR0655-TWR
 6                                                ORDER TO CONTINUE THE MOTION
                            Plaintiff,
                                                  HEARING AND TRIAL SETTING;
 7                                                ORDER EXCLUDING TIME UNDER
           v.                                     THE SPEEDY TRIAL ACT
 8
     JESSICA DEE CAPLES,
 9

10                          Defendant.

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13        Upon joint motion of the Parties and good cause appearing,

14        IT IS HEREBY ORDERED that: (1) the Motion Hearing and Trial Setting

15 is continued to August 20, 2021; and (2) time is excluded under the

16 Speedy Trial Act until August 20, 2021.

17        The defendant shall sign and file an acknowledgment of the next

18 court date within 48 hours of this Order.
19 IT IS SO ORDERED.

20 DATED: May 24, 2021.

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23                                          HONORABLE TODD W. ROBINSON
                                            United States District Judge
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